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                                                                                      U.S. Courts
                                                                                  Case Inquiry Report
                                                              Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                             Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Case Number    DWIE116CV001303            Case Title   JONES VS. LITSCHER, ET AL
Summary Party Information:
   Party#    Party Code      Party Name                   Account Code     Debt Type                        JS Account #          Total Owed   Total Collected    Total Outstanding
   001       PPAY8209        SHAWN D. JONES               PCCA5871         PLRA FILING FEE                                           190.00            190.00                  0.00
   001       PPAY8209        SHAWN D. JONES               PCCA5871         PLRA FILING FEE                                            60.00             60.00                  0.00
   001       PPAY8209        SHAWN D. JONES               PCCA5871         PLRA FILING FEE 086400                                    100.00            100.00                  0.00
   001       PPAY8209        SHAWN D. JONES               PCCA5871         APPEAL PLRA FILING FEE                                    150.00            150.00                  0.00
   001       PPAY8209        SHAWN D. JONES               PCCA5871         APPEAL PLRA FILING FEE                                    105.00            105.00                  0.00
   001       PPAY8209        SHAWN D. JONES               PCCA5871         APPEAL PLRA FILING FEE 086400                             200.00            200.00                  0.00
   001       PPAY8209        SHAWN D. JONES               PCCA5871         ADMIN FILING FEE - 50.00                                   50.00             50.00                  0.00
                                                                                                                                     855.00            855.00                  0.00

Registry Information:
   Depository Code      Depository Name                                            Account Type                              Account Number    Depository Total




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                                                                        Case Inquiry Report
                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Detailed Party Information:
   Party #   Party Code       Party Name
   001       PPAY8209         SHAWN D. JONES
                                                                Debt Type
                                                                PLRA FILING FEE
                                                                                    Principal       Interest            Penalty      Total
                                                           Fund                      5100PL                                         N/A
                                                           Owed                       190.00          0.00               0.00     190.00
                                                           Collected                  190.00          0.00               0.00     190.00
                                                           Outstanding                  0.00          0.00               0.00       0.00

                                                           Apportioned                  0.00          0.00               N/A        0.00
                                                           Paid                         0.00          0.00               N/A        0.00
                                                           Refunded                     0.00          0.00               N/A        0.00
                                                           Available                  190.00          0.00               N/A      190.00


                                                                PLRA FILING FEE
                                                                                    Principal       Interest            Penalty      Total
                                                           Fund                      0869PL                                         N/A
                                                           Owed                        60.00          0.00               0.00      60.00
                                                           Collected                   60.00          0.00               0.00      60.00
                                                           Outstanding                  0.00          0.00               0.00       0.00

                                                           Apportioned                  0.00          0.00               N/A        0.00
                                                           Paid                         0.00          0.00               N/A        0.00
                                                           Refunded                     0.00          0.00               N/A        0.00
                                                           Available                   60.00          0.00               N/A       60.00


                                                                 PLRA FILING FEE 086400
                                                                                    Principal       Interest            Penalty      Total
                                                           Fund                      086400                                         N/A
                                                           Owed                       100.00          0.00               0.00     100.00
                                                           Collected                  100.00          0.00               0.00     100.00
                                                           Outstanding                  0.00          0.00               0.00       0.00

                                                           Apportioned                  0.00          0.00               N/A        0.00
                                                           Paid                         0.00          0.00               N/A        0.00
                                                           Refunded                     0.00          0.00               N/A        0.00
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                                  Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




                                          Available                 100.00           0.00               N/A      100.00


                                                APPEAL PLRA FILING FEE
                                                                  Principal        Interest            Penalty      Total
                                          Fund                     5100PL                                          N/A
                                          Owed                      150.00           0.00               0.00     150.00
                                          Collected                 150.00           0.00               0.00     150.00
                                          Outstanding                 0.00           0.00               0.00       0.00

                                          Apportioned                 0.00           0.00               N/A        0.00
                                          Paid                        0.00           0.00               N/A        0.00
                                          Refunded                    0.00           0.00               N/A        0.00
                                          Available                 150.00           0.00               N/A      150.00


                                                APPEAL PLRA FILING FEE
                                                                  Principal        Interest            Penalty      Total
                                          Fund                     0869PL                                          N/A
                                          Owed                      105.00           0.00               0.00     105.00
                                          Collected                 105.00           0.00               0.00     105.00
                                          Outstanding                 0.00           0.00               0.00       0.00

                                          Apportioned                 0.00           0.00               N/A        0.00
                                          Paid                        0.00           0.00               N/A        0.00
                                          Refunded                    0.00           0.00               N/A        0.00
                                          Available                 105.00           0.00               N/A      105.00


                                                APPEAL PLRA FILING FEE 086400
                                                                  Principal        Interest            Penalty      Total
                                          Fund                     086400                                          N/A
                                          Owed                      200.00           0.00               0.00     200.00
                                          Collected                 200.00           0.00               0.00     200.00
                                          Outstanding                 0.00           0.00               0.00       0.00

                                          Apportioned                 0.00           0.00               N/A        0.00
                                          Paid                        0.00           0.00               N/A        0.00
                                          Refunded                    0.00           0.00               N/A        0.00
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                                                       Case Inquiry Report
                                   Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                  Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




                                          Available                  200.00          0.00               N/A      200.00


                                                ADMIN FILING FEE - 50.00
                                                                   Principal       Interest            Penalty      Total
                                          Fund                      510000                                         N/A
                                          Owed                        50.00          0.00               0.00      50.00
                                          Collected                   50.00          0.00               0.00      50.00
                                          Outstanding                  0.00          0.00               0.00       0.00

                                          Apportioned                  0.00          0.00               N/A        0.00
                                          Paid                         0.00          0.00               N/A        0.00
                                          Refunded                     0.00          0.00               N/A        0.00
                                          Available                   50.00          0.00               N/A       50.00


                                               Totals
                                                                   Principal       Interest            Penalty      Total
                                          Owed                      855.00            0.00              0.00     855.00
                                          Collected                 855.00            0.00              0.00     855.00
                                          Outstanding                  0.00           0.00              0.00       0.00

                                          Apportioned                  0.00          0.00               N/A        0.00
                                          Paid                         0.00          0.00               N/A        0.00
                                          Refunded                     0.00          0.00               N/A        0.00
                                          Available                  855.00          0.00               N/A      855.00




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                                                      Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                     Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                       Document     Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                   Date         Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type     Debt                                     Payee             Depository    J/S Account
      Number                  Line#         Type                                     Line#             Line#         Code
CT MK4689061827                                10/17/2016   10/17/2016   PR                     1.02        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT MK4689066337                                06/23/2017   06/23/2017   PR                    24.06        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1             PLRA FILING FEE

CT T072717DWIE116CV0013030011                  07/27/2017  08/17/2017    PR                     0.29        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV0013030011                  07/27/2017   08/17/2017   PR                     0.36        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T072717DWIE116CV0013030012                  07/27/2017  08/17/2017    PR                     0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV0013030012                  07/27/2017   08/17/2017   PR                     0.17        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T072717DWIE116CV0013030016                  07/27/2017  08/17/2017    PR                     0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV0013030016                  07/27/2017   08/17/2017   PR                     0.25        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T072717DWIE116CV0013030017                  07/27/2017  08/17/2017    PR                     0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV0013030017                  07/27/2017   08/17/2017   PR                     0.30        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T072717DWIE116CV0013030018                  07/27/2017  08/17/2017    PR                     0.03        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV0013030018                  07/27/2017   08/17/2017   PR                     0.03        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T072717DWIE116CV00130300112                 07/27/2017  08/17/2017    PR                     0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV00130300112                 07/27/2017   08/17/2017   PR                     0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T072717DWIE116CV00130300113                 07/27/2017  08/17/2017    PR                     0.25        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV00130300113                 07/27/2017   08/17/2017   PR                     0.32        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE
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                                                      Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                     Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                       Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                   Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type     Debt                                    Payee             Depository    J/S Account
      Number                  Line#         Type                                    Line#             Line#         Code
CT T072717DWIE116CV00130300116                 07/27/2017  08/17/2017   PR                     0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T072717DWIE116CV00130300116                 07/27/2017   08/17/2017   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T081017DWIE116CV00130300112                 08/10/2017  08/17/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T081017DWIE116CV00130300112                 08/10/2017   08/17/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T081017DWIE116CV00130300113                 08/10/2017  08/17/2017    PR                    0.14        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T081017DWIE116CV00130300113                 08/10/2017   08/17/2017   PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T081017DWIE116CV00130300114                 08/10/2017  08/17/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T081017DWIE116CV00130300114                 08/10/2017   08/17/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T082717DWIE116CV00130300123                 08/27/2017  09/14/2017    PR                    0.14        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T082717DWIE116CV00130300123                 08/27/2017   09/14/2017   PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T082717DWIE116CV00130300125                 08/27/2017  09/14/2017    PR                    0.15        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T082717DWIE116CV00130300125                 08/27/2017   09/14/2017   PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T082717DWIE116CV00130300134                 08/27/2017  09/14/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T082717DWIE116CV00130300134                 08/27/2017   09/14/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT MK4689067851                                09/19/2017  09/19/2017    PR                    2.04        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5             APPEAL PLRA FILING FEE

CT MK4689067851                                09/19/2017   09/19/2017   PR                    2.58        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1             PLRA FILING FEE
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                                                      Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                     Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                       Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                   Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type     Debt                                    Payee             Depository    J/S Account
      Number                  Line#         Type                                    Line#             Line#         Code
CT T090717DWIE116CV00130300115                 09/07/2017  10/05/2017   PR                     0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T090717DWIE116CV00130300115                 09/07/2017   10/05/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T090717DWIE116CV00130300116                 09/07/2017  10/05/2017    PR                    0.14        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T090717DWIE116CV00130300116                 09/07/2017   10/05/2017   PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T090717DWIE116CV00130300117                 09/07/2017  10/05/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T090717DWIE116CV00130300117                 09/07/2017   10/05/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT MK4689068264                                10/12/2017  10/12/2017    PR                    0.26        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5             APPEAL PLRA FILING FEE

CT MK4689068264                                10/12/2017   10/12/2017   PR                    0.34        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1             PLRA FILING FEE

CT T100517DWIE116CV00130300115                 10/05/2017  10/17/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T100517DWIE116CV00130300115                 10/05/2017   10/17/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T102617DWIE116CV00130300176                 10/26/2017  11/08/2017    PR                    0.08        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T102617DWIE116CV00130300176                 10/26/2017   11/08/2017   PR                    0.11        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T102617DWIE116CV00130300177                 10/26/2017  11/08/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T102617DWIE116CV00130300177                 10/26/2017   11/08/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T102617DWIE116CV00130300178                 10/26/2017  11/08/2017    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T102617DWIE116CV00130300178                 10/26/2017   11/08/2017   PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE
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                                                     Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                       Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                   Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type     Debt                                    Payee             Depository    J/S Account
      Number                  Line#         Type                                    Line#             Line#         Code
CT T110917DWIE116CV0013030013                  11/09/2017  11/28/2017   PR                     0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T110917DWIE116CV0013030013                  11/09/2017   11/28/2017   PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T110917DWIE116CV0013030014                  11/09/2017  11/28/2017    PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T110917DWIE116CV0013030014                  11/09/2017   11/28/2017   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T110917DWIE116CV0013030015                  11/09/2017  11/28/2017    PR                    0.11        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T110917DWIE116CV0013030015                  11/09/2017   11/28/2017   PR                    0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T110917DWIE116CV0013030016                  11/09/2017  11/28/2017    PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T110917DWIE116CV0013030016                  11/09/2017   11/28/2017   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T110917DWIE116CV0013030017                  11/09/2017  11/28/2017    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T110917DWIE116CV0013030017                  11/09/2017   11/28/2017   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T110917DWIE116CV00130300182                 11/09/2017  11/28/2017    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T110917DWIE116CV00130300182                 11/09/2017   11/28/2017   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T110917DWIE116CV00130300183                 11/09/2017  11/28/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T110917DWIE116CV00130300183                 11/09/2017   11/28/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T111617DWIE116CV0013030011                  11/16/2017  11/29/2017    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T111617DWIE116CV0013030011                  11/16/2017   11/29/2017   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE
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                                                      Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                     Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                       Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                   Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type     Debt                                    Payee             Depository    J/S Account
      Number                  Line#         Type                                    Line#             Line#         Code
CT T111617DWIE116CV0013030012                  11/16/2017  11/29/2017   PR                     0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T111617DWIE116CV0013030012                  11/16/2017   11/29/2017   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T111617DWIE116CV00130300119                 11/16/2017  11/29/2017    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T111617DWIE116CV00130300119                 11/16/2017   11/29/2017   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T111617DWIE116CV00130300120                 11/16/2017  11/29/2017    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T111617DWIE116CV00130300120                 11/16/2017   11/29/2017   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T113017DWIE116CV00130300116                 11/30/2017  12/14/2017    PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T113017DWIE116CV00130300116                 11/30/2017   12/14/2017   PR                    0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T113017DWIE116CV00130300117                 11/30/2017  12/14/2017    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T113017DWIE116CV00130300117                 11/30/2017   12/14/2017   PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T121417DWIE116CV0013030012                  12/14/2017  01/04/2018    PR                    0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T121417DWIE116CV0013030012                  12/14/2017   01/04/2018   PR                    0.30        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T121417DWIE116CV0013030014                  12/14/2017  01/04/2018    PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T121417DWIE116CV0013030014                  12/14/2017   01/04/2018   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE

CT T121417DWIE116CV0013030015                  12/14/2017  01/04/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5             APPEAL PLRA FILING FEE

CT T121417DWIE116CV0013030015                  12/14/2017   01/04/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1             PLRA FILING FEE
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                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T121417DWIE116CV0013030013                12/14/2017  01/04/2018   PR                     0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T121417DWIE116CV0013030013                12/14/2017   01/04/2018   PR                    0.25        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T121417DWIE116CV00130300170               12/14/2017  01/04/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T121417DWIE116CV00130300170               12/14/2017   01/04/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T121417DWIE116CV00130300171               12/14/2017  01/04/2018    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T121417DWIE116CV00130300171               12/14/2017   01/04/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689069608                              01/05/2018  01/05/2018    PR                    0.49        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689069608                              01/05/2018   01/05/2018   PR                    0.61        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T122817DWIE116CV00130300118               12/28/2017  01/23/2018    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T122817DWIE116CV00130300118               12/28/2017   01/23/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T122817DWIE116CV00130300119               12/28/2017  01/23/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T122817DWIE116CV00130300119               12/28/2017   01/23/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T011118DWIE116CV0013030011                01/11/2018  01/23/2018    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T011118DWIE116CV0013030011                01/11/2018   01/23/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T011118DWIE116CV0013030012                01/11/2018  01/23/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T011118DWIE116CV0013030012                01/11/2018   01/23/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T011118DWIE116CV00130300119               01/11/2018  01/23/2018   PR                     0.14        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T011118DWIE116CV00130300119               01/11/2018   01/23/2018   PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T011118DWIE116CV00130300120               01/11/2018  01/23/2018    PR                    0.17        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T011118DWIE116CV00130300120               01/11/2018   01/23/2018   PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689070057                              02/01/2018  02/01/2018    PR                    0.44        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689070057                              02/01/2018   02/01/2018   PR                    0.55        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T012518DWIE116CV00130300121               01/25/2018  02/12/2018    PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T012518DWIE116CV00130300121               01/25/2018   02/12/2018   PR                    0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T012518DWIE116CV00130300122               01/25/2018  02/12/2018    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T012518DWIE116CV00130300122               01/25/2018   02/12/2018   PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689070239                              02/12/2018  02/12/2018    PR                    0.49        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689070239                              02/12/2018   02/12/2018   PR                    0.61        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T020818DWIE116CV00130300158               02/08/2018  02/15/2018    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T020818DWIE116CV00130300158               02/08/2018   02/15/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T020818DWIE116CV00130300159               02/08/2018  02/15/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T020818DWIE116CV00130300159               02/08/2018   02/15/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT MK4689070499                              02/27/2018  02/27/2018   PR                     0.47        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT MK4689070499                              02/27/2018   02/27/2018   PR                    0.59        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T022218DWIE116CV00130300119               02/22/2018  03/06/2018    PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T022218DWIE116CV00130300119               02/22/2018   03/06/2018   PR                    0.25        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T022218DWIE116CV00130300120               02/22/2018  03/06/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T022218DWIE116CV00130300120               02/22/2018   03/06/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689070782                              03/13/2018  03/13/2018    PR                    0.49        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689070782                              03/13/2018   03/13/2018   PR                    0.61        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T030818DWIE116CV00130300121               03/08/2018  03/16/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T030818DWIE116CV00130300121               03/08/2018   03/16/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T030818DWIE116CV00130300122               03/08/2018  03/16/2018    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T030818DWIE116CV00130300122               03/08/2018   03/16/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T032218DWIE116CV0013030011                03/22/2018  04/06/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T032218DWIE116CV0013030011                03/22/2018   04/06/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T032218DWIE116CV0013030012                03/22/2018  04/06/2018    PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T032218DWIE116CV0013030012                03/22/2018   04/06/2018   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T032218DWIE116CV00130300116               03/22/2018  04/06/2018   PR                     0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T032218DWIE116CV00130300116               03/22/2018   04/06/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T032218DWIE116CV00130300117               03/22/2018  04/06/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T032218DWIE116CV00130300117               03/22/2018   04/06/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689071241                              04/11/2018  04/11/2018    PR                    0.46        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689071241                              04/11/2018   04/11/2018   PR                    0.58        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T040518DWIE116CV00130300114               04/05/2018  04/12/2018    PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T040518DWIE116CV00130300114               04/05/2018   04/12/2018   PR                    0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T040518DWIE116CV00130300115               04/05/2018  04/12/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T040518DWIE116CV00130300115               04/05/2018   04/12/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T041918DWIE116CV0013030011                04/19/2018  05/02/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T041918DWIE116CV0013030011                04/19/2018   05/02/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T041918DWIE116CV0013030012                04/19/2018  05/02/2018    PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T041918DWIE116CV0013030012                04/19/2018   05/02/2018   PR                    0.23        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T041918DWIE116CV00130300112               04/19/2018  05/02/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T041918DWIE116CV00130300112               04/19/2018   05/02/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T041918DWIE116CV00130300113               04/19/2018  05/02/2018   PR                     0.15        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T041918DWIE116CV00130300113               04/19/2018   05/02/2018   PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T050318DWIE116CV0013030011                05/03/2018  05/09/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T050318DWIE116CV0013030011                05/03/2018   05/09/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T050318DWIE116CV0013030012                05/03/2018  05/09/2018    PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T050318DWIE116CV0013030012                05/03/2018   05/09/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T050318DWIE116CV00130300111               05/03/2018  05/09/2018    PR                    0.17        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T050318DWIE116CV00130300111               05/03/2018   05/09/2018   PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T050318DWIE116CV00130300112               05/03/2018  05/09/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T050318DWIE116CV00130300112               05/03/2018   05/09/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T051718DWIE116CV0013030011                05/17/2018  05/23/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T051718DWIE116CV0013030011                05/17/2018   05/23/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T051718DWIE116CV0013030012                05/17/2018  05/23/2018    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T051718DWIE116CV0013030012                05/17/2018   05/23/2018   PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T051718DWIE116CV00130300116               05/17/2018  05/23/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T051718DWIE116CV00130300116               05/17/2018   05/23/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T051718DWIE116CV00130300117               05/17/2018  05/23/2018   PR                     0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T051718DWIE116CV00130300117               05/17/2018   05/23/2018   PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T053118DWIE116CV00130300115               05/31/2018  06/11/2018    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T053118DWIE116CV00130300115               05/31/2018   06/11/2018   PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T053118DWIE116CV00130300116               05/31/2018  06/11/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T053118DWIE116CV00130300116               05/31/2018   06/11/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T060718DWIE116CV0013030012                06/07/2018  06/13/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T060718DWIE116CV0013030012                06/07/2018   06/13/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T060718DWIE116CV0013030013                06/07/2018  06/13/2018    PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T060718DWIE116CV0013030013                06/07/2018   06/13/2018   PR                    0.25        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689072516                              06/25/2018  06/25/2018    PR                    0.33        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689072516                              06/25/2018   06/25/2018   PR                    0.42        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T062118DWIE116CV00130300187               06/21/2018  07/06/2018    PR                    0.11        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T062118DWIE116CV00130300187               06/21/2018   07/06/2018   PR                    0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T062118DWIE116CV00130300188               06/21/2018  07/06/2018    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T062118DWIE116CV00130300188               06/21/2018   07/06/2018   PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T063018DWIE116CV00130300124               06/30/2018  07/18/2018   PR                     0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T063018DWIE116CV00130300124               06/30/2018   07/18/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T063018DWIE116CV00130300125               06/30/2018  07/18/2018    PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T063018DWIE116CV00130300125               06/30/2018   07/18/2018   PR                    0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T070518DWIE116CV0013030014                07/05/2018  07/18/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T070518DWIE116CV0013030014                07/05/2018   07/18/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T070518DWIE116CV0013030015                07/05/2018  07/18/2018    PR                    0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T070518DWIE116CV0013030015                07/05/2018   07/18/2018   PR                    0.30        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689072910                              07/18/2018  07/18/2018    PR                    0.44        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689072910                              07/18/2018   07/18/2018   PR                    0.55        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T071218DWIE116CV00130300124               07/12/2018  07/23/2018    PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T071218DWIE116CV00130300124               07/12/2018   07/23/2018   PR                    0.24        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T071218DWIE116CV00130300125               07/12/2018  07/23/2018    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T071218DWIE116CV00130300125               07/12/2018   07/23/2018   PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T072618DWIE116CV00130300128               07/26/2018  08/07/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T072618DWIE116CV00130300128               07/26/2018   08/07/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T072618DWIE116CV00130300129               07/26/2018  08/07/2018   PR                     0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T072618DWIE116CV00130300129               07/26/2018   08/07/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T080218DWIE116CV0013030016                08/02/2018  08/08/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T080218DWIE116CV0013030016                08/02/2018   08/08/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T080218DWIE116CV0013030017                08/02/2018  08/08/2018    PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T080218DWIE116CV0013030017                08/02/2018   08/08/2018   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T081618DWIE116CV0013030015                08/16/2018  08/24/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T081618DWIE116CV0013030015                08/16/2018   08/24/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T081618DWIE116CV0013030016                08/16/2018  08/24/2018    PR                    0.12        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T081618DWIE116CV0013030016                08/16/2018   08/24/2018   PR                    0.15        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T081618DWIE116CV00130300185               08/16/2018  08/24/2018    PR                    0.10        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T081618DWIE116CV00130300185               08/16/2018   08/24/2018   PR                    0.12        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T081618DWIE116CV00130300186               08/16/2018  08/24/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T081618DWIE116CV00130300186               08/16/2018   08/24/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T082318DWIE116CV00130300128               08/23/2018  09/06/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T082318DWIE116CV00130300128               08/23/2018   09/06/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T082318DWIE116CV00130300129               08/23/2018  09/06/2018   PR                     0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T082318DWIE116CV00130300129               08/23/2018   09/06/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T090618DWIE116CV00130300110               09/06/2018  09/20/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T090618DWIE116CV00130300110               09/06/2018   09/20/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T090618DWIE116CV00130300111               09/06/2018  09/20/2018    PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T090618DWIE116CV00130300111               09/06/2018   09/20/2018   PR                    0.23        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T090618DWIE116CV0013030018                09/06/2018  09/20/2018    PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T090618DWIE116CV0013030018                09/06/2018   09/20/2018   PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T090618DWIE116CV0013030019                09/06/2018  09/20/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T090618DWIE116CV0013030019                09/06/2018   09/20/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T090618DWIE116CV00130300134               09/06/2018  09/20/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T090618DWIE116CV00130300134               09/06/2018   09/20/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T090618DWIE116CV00130300135               09/06/2018  09/20/2018    PR                    0.15        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T090618DWIE116CV00130300135               09/06/2018   09/20/2018   PR                    0.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T092018DWIE116CV0013030013                09/20/2018  10/09/2018    PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T092018DWIE116CV0013030013                09/20/2018   10/09/2018   PR                    0.25        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T092018DWIE116CV0013030014                09/20/2018  10/09/2018   PR                     0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T092018DWIE116CV0013030014                09/20/2018   10/09/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T092018DWIE116CV00130300124               09/20/2018  10/09/2018    PR                    0.17        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T092018DWIE116CV00130300124               09/20/2018   10/09/2018   PR                    0.21        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T092018DWIE116CV00130300125               09/20/2018  10/09/2018    PR                    0.16        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T092018DWIE116CV00130300125               09/20/2018   10/09/2018   PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T100418DWIE116CV0013030013                10/04/2018  10/12/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T100418DWIE116CV0013030013                10/04/2018   10/12/2018   PR                    0.28        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T100418DWIE116CV0013030014                10/04/2018  10/12/2018    PR                    0.07        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T100418DWIE116CV0013030014                10/04/2018   10/12/2018   PR                    0.08        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T100418DWIE116CV00130300122               10/04/2018  10/12/2018    PR                    0.05        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T100418DWIE116CV00130300122               10/04/2018   10/12/2018   PR                    0.07        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T100418DWIE116CV00130300123               10/04/2018  10/12/2018    PR                    0.18        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T100418DWIE116CV00130300123               10/04/2018   10/12/2018   PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T101818DWIE116CV0013030012                10/18/2018  10/26/2018    PR                    0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T101818DWIE116CV0013030012                10/18/2018   10/26/2018   PR                    0.17        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T101818DWIE116CV0013030013                10/18/2018  10/26/2018   PR                     0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T101818DWIE116CV0013030013                10/18/2018   10/26/2018   PR                    0.17        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T101818DWIE116CV00130300123               10/18/2018  10/26/2018    PR                    0.11        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T101818DWIE116CV00130300123               10/18/2018   10/26/2018   PR                    0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T101818DWIE116CV00130300124               10/18/2018  10/26/2018    PR                    0.11        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T101818DWIE116CV00130300124               10/18/2018   10/26/2018   PR                    0.13        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T102518DWIE116CV00130300167               10/25/2018  11/06/2018    PR                    0.20        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T102518DWIE116CV00130300167               10/25/2018   11/06/2018   PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T110118DWIE116CV0013030014                11/01/2018  11/13/2018    PR                    0.26        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T110118DWIE116CV0013030014                11/01/2018   11/13/2018   PR                    0.32        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689074892                              11/13/2018  11/13/2018    PR                    2.21        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689074892                              11/13/2018   11/13/2018   PR                    2.81        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T110818DWIE116CV00130300174               11/08/2018  11/19/2018    PR                    0.34        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T110818DWIE116CV00130300174               11/08/2018   11/19/2018   PR                    0.43        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T110818DWIE116CV00130300175               11/08/2018  11/19/2018    PR                    1.01        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T110818DWIE116CV00130300175               11/08/2018   11/19/2018   PR                    1.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T110818DWIE116CV00130300176               11/08/2018  11/19/2018   PR                     0.43        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T110818DWIE116CV00130300176               11/08/2018   11/19/2018   PR                    0.54        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT MK4689075352                              12/12/2018  12/12/2018    PR                    2.70        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      5           APPEAL PLRA FILING FEE

CT MK4689075352                              12/12/2018   12/12/2018   PR                    3.42        SHAWN D. JONES         O      04      5100PL
     DWIE116CV001303-001      1           PLRA FILING FEE

CT T112218DWIE116CV0013030013                11/22/2018  12/13/2018    PR                    2.51        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T112218DWIE116CV0013030013                11/22/2018   12/13/2018   PR                    3.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T112218DWIE116CV00130300181               11/22/2018  12/13/2018    PR                    2.01        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T112218DWIE116CV00130300181               11/22/2018   12/13/2018   PR                    2.55        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T120618DWIE116CV00130300165               12/06/2018  12/17/2018    PR                    1.94        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T120618DWIE116CV00130300165               12/06/2018   12/17/2018   PR                    2.46        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T120618DWIE116CV00130300166               12/06/2018  12/17/2018    PR                    0.22        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T120618DWIE116CV00130300166               12/06/2018   12/17/2018   PR                    0.27        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T122018DWIE116CV0013030011                12/20/2018  01/10/2019    PR                    2.51        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T122018DWIE116CV0013030011                12/20/2018   01/10/2019   PR                    3.19        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T122018DWIE116CV00130300161               12/20/2018  01/10/2019    PR                    2.01        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T122018DWIE116CV00130300161               12/20/2018   01/10/2019   PR                    2.55        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE
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                                                                        Case Inquiry Report
                                                    Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                   Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                     Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                 Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type   Debt                                    Payee             Depository    J/S Account
      Number                  Line#       Type                                    Line#             Line#         Code
CT T122718DWIE116CV0013030013                12/27/2018  01/10/2019   PR                    53.98        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T122718DWIE116CV0013030013                12/27/2018   01/10/2019   PR                   68.38        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T122718DWIE116CV00130300118               12/27/2018   01/10/2019   PR                    2.77        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     2           PLRA FILING FEE

CT T122718DWIE116CV00130300118               12/27/2018  01/10/2019    PR                    4.86        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     6           APPEAL PLRA FILING FEE

CT T122718DWIE116CV00130300118               12/27/2018   01/10/2019   PR                   39.42        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     1           PLRA FILING FEE

CT T122718DWIE116CV00130300118               12/27/2018  01/10/2019    PR                   50.84        SHAWN D. JONES         O      04      5100PL
      DWIE116CV001303-001     5           APPEAL PLRA FILING FEE

CT T010319DWIE116CV00130300159               01/03/2019   01/10/2019   PR                   35.60        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     2           PLRA FILING FEE

CT T010319DWIE116CV00130300159               01/03/2019  01/10/2019    PR                   62.29        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     6           APPEAL PLRA FILING FEE

CT T010319DWIE116CV00130300160               01/03/2019   01/10/2019   PR                    0.13        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     2           PLRA FILING FEE

CT T010319DWIE116CV00130300160               01/03/2019  01/10/2019    PR                    0.23        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     6           APPEAL PLRA FILING FEE

CQ 19468900111                               01/10/2019  01/10/2019    PR                    1.30        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     6           APPEAL PLRA FILING FEE

CQ 19468900111                               01/10/2019   01/10/2019   PR                   21.50        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     2           PLRA FILING FEE

CQ 19468900111                               01/10/2019  01/10/2019    PR                  100.00        SHAWN D. JONES         O      04      086400
      DWIE116CV001303-001     3           PLRA FILING FEE 086400

CT T011019DWIE116CV0013030014                01/10/2019  01/18/2019    PR                   21.34        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     6           APPEAL PLRA FILING FEE

CT T011019DWIE116CV00130300125               01/10/2019  01/18/2019    PR                   14.98        SHAWN D. JONES         O      04      0869PL
      DWIE116CV001303-001     6           APPEAL PLRA FILING FEE

CT T011019DWIE116CV00130300125               01/10/2019  01/18/2019  PR                     43.78        SHAWN D. JONES         O      04      086400
      DWIE116CV001303-001     7           APPEAL PLRA FILING FEE 086400
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                                                                                   U.S. Courts
                                                                               Case Inquiry Report
                                                           Case Num: DWIE116CV001303; Party Num: N/A; Payee Code: N/A
                                                          Show Party Details: Y; Show Payee Details: Y; Show Transactions: Y




Transaction Information:
Document                                         Document    Accomplished                                     Party/Payee           Doc    Trans
Type/Number*                                     Date        Date         Line Type           Amount          Name                  Actn   Type    Fund
      Account                 Debt Type       Debt                                    Payee             Depository    J/S Account
      Number                  Line#           Type                                    Line#             Line#         Code
CT T011719DWIE116CV00130300162                   01/17/2019  01/25/2019   PR                    62.66        SHAWN D. JONES         O      04      086400
      DWIE116CV001303-001     7               APPEAL PLRA FILING FEE 086400

CT T011719DWIE116CV00130300163                   01/17/2019  01/25/2019  PR                      0.54        SHAWN D. JONES         O      04      086400
      DWIE116CV001303-001     7               APPEAL PLRA FILING FEE 086400

CT T012419DWIE116CV00130300121                  01/24/2019   02/05/2019    PR                   28.28        SHAWN D. JONES         O      04      510000
      DWIE116CV001303-001     8               ADMIN FILING FEE - 50.00

CT T012419DWIE116CV00130300121                   01/24/2019  02/05/2019  PR                     93.02        SHAWN D. JONES         O      04      086400
      DWIE116CV001303-001     7               APPEAL PLRA FILING FEE 086400

CT T013119DWIE116CV00130300158                  01/31/2019   02/11/2019    PR                   21.72        SHAWN D. JONES         O      04      510000
      DWIE116CV001303-001     8               ADMIN FILING FEE - 50.00


* Document Type Legend
    Document Type          Document Type Name
    CQ                     Cash Receipt - CCA Manual
    CT                     Cash Receipt - CCA Automated




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